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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA

          -v-                                                    97-CR-673 (JGK)

JAMAL MOHAMED AL-FADL,                                                      ORDER

                     Defendant.

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JOHN G. KOELTL, United States District Judge :

     This Order is entered , pursuant to Federal Rule of Criminal

Procedure 5(f) , to confirm the Government ' s disclosure

obligations under Brady v . Maryland , 373 U. S . 8 3 (1963) , and its

progeny , and to summarize the possible consequences of violating

those obligations.

     The Government must disclose t o the defense all information

"favorable to an accused " that is "material either to guilt or

to punishment " and that is known to the Government .                        Id . at 87 .

This obligation applies regardless of whether the informati o n

would itse l f constitute admissible evidence .               The Government

shall disclose such information to the defense promptly after

its existence becomes kn own t o the Government so that the

defense may make effective use of the information in the

preparation of i ts case.
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     As part of these obligations , the Government must disclose

any information that can be used to impeach the trial testimony

of a Government witness within the meaning of Giglio v . United

States , 405 U.S. 150 (1972) , and its progeny.       Such information

must be disclosed suffic i ently in advance of trial in order for

the defendant to make effective use of it at trial or at such

other time as the Court may order .

     The foregoing obligations are continuing ones and apply to

materials that become known to the Government in the future .

Additionally , if information is otherwise subject to disclosure ,

it must be disclosed regardless of whether the Government

credits it .

     In the event the Government believes that a disclosure

under this Order would compromise witness safety , victim rights ,

national security , a sensitive law-enforcement technique , or any

other substantial government interest , it may apply to the Court

for a modification of its obligations , which may include in

camera review or withholding or sub j ecting to a protective order

all or part of the information otherwise subject to disclosure.

     For purposes of this Order , the Government includes all

curren t or former federal , state , and local prosecutors , l aw -

enforcement officers , and other officers who have participated

in the prosecut i on , or investigation that led to the

prosecution , of the offense or offenses with which the defendant

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is charged .     The Government has an affirmative obligation to

seek from such sources all information subject to disclosure

under this Order .

         If the Government fails to comply with this Order, the

Court, in addition to ordering production of the information,

may :

   (1)        specify the terms and conditions of such production ;

   (2)        grant a continuance;

   (3)        impose evidentiary sanctions;

   (4)        impose sanctions on any responsible lawyer for the
         Government ;

   (5)        dismiss charges before trial or vacate a conviction
         after trial or a guilty plea ; or

   (6)        enter any other order that is just under the
         circumstances .


         SO ORDERED .

Dated : October 29, 2020
        New York, New York                      /s/ John G. Koeltl
                                                  John G. Koeltl
                                            United States District Judge




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